
In re Scapa Dryers Inc.; Asten Inc.; Industrial Holdings Corp. (Lockport Felt division of Carborundum Co. Interests); John Crane Inc.; Mt. Vernon Mills;- — Defendants); Applying for Supervisory and/or Remedial Writs, Parish of Washington, 22nd Judicial District Court Div. E, Nos. 70,760, 72,145, 72,986; to the Court of Appeal, First Circuit, No(s). 2002 CW *11641375, 2002 CW 1424, 2002 CW 1258, 2002 CW 1372.
Denied.
VICTORY, J., would grant the writ.
TRAYLOR, J., would grant the writ.
